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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF LOUISIANA

 DANIEL G. SMITH,                               *         CIVIL ACTION NO. 17-cv-9899
                                                *
 VERSUS                                         *         JUDGE BARRY W. ASHE
                                                *
 OCHSNER HEALTH SYSTEM AND                      *         MAG. JANIS VAN MEERVELD
 OCHSNER CLINIC FOUNDATION                      *
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                                     NOTICE OF APPEAL

       Notice is hereby given that Plaintiff, Daniel G. Smith, in the above captioned case hereby

appeals to the United States Court of Appeals for the Fifth Circuit from the District Court’s Order

granting Defendants’ Motion for Summary Judgment (Rec. Doc. 58), entered in this action on the

13th day of November, 2018.

                                                     Respectfully submitted,

                                                           s/ Kenneth C. Bordes              .
                                                     Kenneth C. Bordes (Bar #35668)
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                                                     Counsel for Plaintiff

                                CERTIFICATE OF SERVICE

         I hereby certify that the above and foregoing has been electronically filed with the Clerk

of Court and served on opposing counsel via the CM/ECF system in accordance with LR 5.4 and

Fed. R. Civ. P. 5(b)(3) on this 8th day of November, 2018.

                                     /s/ Kenneth C. Bordes      .
                                       Kenneth C. Bordes
